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                 UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MISSOURI
                         EASTERN DIVISION
IN RE:                           ) CASE NO: 22-40074-659
SANDRA JEAN KING                 ) Chapter 13
                                 ) Re:Objection to Claim 4 filed by
                                 )    US BANK TRUST NA TRUSTEE
                                 )    Acct: 8252
                                 )    Amount: $63,050.76
               Debtor            )    Response Due: April 07, 2022
                                 )
                   AMENDED TRUSTEE'S OBJECTION TO CLAIM 4

THIS OBJECTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
YOU OPPOSE THE OBJECTION, YOU SHOULD IMMEDIATELY CONTACT THE
MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY
CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE
MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21
DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE
WHY THE OBJECTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER
NOTICE TO YOU. IF YOU OPPOSE THE OBJECTION AND HAVE NOT REACHED
AN AGREEMENT, YOU MUST ATTEND THE HEARING, THE DATE OF WHICH
WILL BE SENT TO YOU IF YOU FILE A RESPONSE. UNLESS THE PARTIES
AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING
AND MAY DECIDE THE OBJECTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS.

    COMES NOW Diana S. Daugherty, Standing Chapter 13 Trustee in Bankruptcy, and for her
objection to claim states as follows:
   The claim of US BANK TRUST NA TRUSTEE dated June 14, 2022, should be denied as
   filed because the claim fails to list the value of the collateral securing the debt. The
   Trustee cannot determine what portion of the claim, if any, is secured and what portion is
   unsecured. The Court should allow the claim as a general unsecured claim, but the
   creditor may file an amended proof of claim listing the value of its security.
   WHEREFORE Trustee prays the Court will enter its order sustaining this objection.

Dated: March 17, 2022                             /s/ Diana S. Daugherty
                                                  Diana S. Daugherty
OBJCLM--SJC                                       Standing Chapter 13 Trustee
                                                  P.O. Box 430908
                                                  St. Louis, MO 63143
                                                  (314) 781-8100 Fax: (314) 781-8881
                                                  trust33@ch13stl.com
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                                   CERTIFICATE OF SERVICE
    I certify that a true and correct copy of the foregoing document was filed electronically on
March 17, 2022, with the United States Bankruptcy Court, and has been served on the parties in
interest via e-mail by the Court's CM/ECF System as listed on the Court's Electronic Mail Notice
List.

     I certify that a true and correct copy of the foregoing document was filed electronically with
the United States Bankruptcy Court, and has been served by Regular United States Mail Service,
first class, postage fully pre-paid, addressed to those parties listed on the Court's Manual Notice
List and listed below on March 17, 2022.

    SANDRA JEAN KING                                 US BANK TRUST NA TRUSTEE
    2630 GLENOAK DRIVE                               323 5TH ST
    MARYLAND HEIGHTS, MO 63043                       C/O SN SERVICING CORP
                                                     EUREKA, CA 95501-0305

    MARINOSCI LAW GROUP PC
    14643 DALLAS PKWY
    STE 750
    DALLAS, TX 75254

                                                     /s/ Diana S. Daugherty
                                                     Diana S. Daugherty, Chapter 13 Trustee
